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  Complaint Exhibit A

        Email to PCSD Legal
          Representatives
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  From: Steve Serbalik steveserbalik@gmail.com
Subject: Administrative leave for Sgt. Aaron Cross
   Date: October 15, 2024 at 8:42 AM
     To: Sean.Holguin@sheriff.pima.gov
    Cc: Kevin Kristick kristick@bosserollman.com

       Sean,

       It is my understanding that you are the attorney providing legal direction to PCSO based on communications I received from Sheriff Nanos
       back in April. In the past, I represented Sgt. Aaron Cross during both the "Law Matters" podcast internal investigation, and the subsequent
       internal investigation related to the misconduct allegations made by Mike Story.

       Yesterday, I received communications from Sgt. Cross who informed me he'd been placed on administrative leave with pay, following some
       communications he had with Captain Navarro. I would like to provide some clarity and a brief timeline of events.

       On Saturday, October 12th, Sgt. Cross and a retired PCSO deputy participated in a political event. It should be noted that Sgt. Cross was
       off-duty, and every item of clothing and equipment on his person was personally owned and purchased. In addition, Sgt. Cross did not
       display anything with PCSO on his person at any time (see attached photo). During this event, Sgt. Cross held a sign while standing on
       public property. Sgt. Cross was at this event from approximately 0700 hours until approximately 1000 hours.

       On October 12th at 1324 hours, Sgt. Cross received a call from Captain Navarro. Captain Navarro told Sgt. Cross he'd been informed that
       Sgt. Cross was observed holding a sign with a negative message about Sheriff Nanos while on a public sidewalk. Sgt. Cross confirmed this
       was accurate. Captain Navarro informed Sgt. Cross that while off-duty, Sgt. Cross could participate in these activities, but Captain Navarro
       was under the impression that Sgt. Cross was wearing "uniform pieces." Sgt. Cross corrected this perception and informed Captain Navarro
       that he was wearing a tan polo and green "BDU" style pants, but all of it was personally owned and purchased, and none of the clothing
       items had departmental insignias or emblems on them. Captain Navarro told Sgt. Cross that he was ordering him not to wear clothing which
       deputies also wear on duty. Sgt. Cross said he would refrain from wearing clothing which is also worn by deputies on duty, but he intended
       on voluntarily wearing clothing of similar color. Captain Navarro told Sgt. Cross this was acceptable, and they concluded their phone call.

       Eleven minutes later, at 1335 hours, Captain Navarro called Sgt. Cross again. Captain Navarro told Sgt. Cross that he did not want Sgt.
       Cross to go out and purchase clothing, because he was being ordered not to "look like" a deputy sheriff while taking part in these activities.
       Sgt. Cross asked Captain Navarro if this order was based on a written PCSO policy, and Captain Navarro said it was not. Sgt. Cross asked
       Captain Navarro if he would put this order - to not look like a deputy sheriff - in writing, as Sgt. Cross believed the directive may be unlawful
       as it curtailed his First Amendment Rights, but Captain Navarro said he would not provide the order in writing. They concluded their phone
       call.

       On October 13th and approximately 0800 hours, Sgt. Cross participated in another political event while off-duty. Following the directive he
       received from Captain Navarro, Sgt. Cross wore a gray Under Armor shirt and tan "BDU" style pants. Everything Sgt. Cross wore was
       personally owned and purchased. It should be noted that to the best of Sgt. Cross' knowledge, no unit in PCSO wears this clothing or color
       scheme.

       At 0945 hours, Sgt. Cross received a call from Lt. O'Connor. Lt. O'Conner gave a direct order to Sgt. Cross to respond to Captain Navarro's
       office within 30 minutes. Sgt. Cross complied with this order, and met with Captain Navarro in his office. During this meeting, Sgt. Cross was
       placed on paid administrative leave pending an internal investigation. Sgt. Cross was provided with a list of PCSO equipment he was
       ordered to turn in by the end of the day. Sgt. Cross was not provided with the nature of the pending internal investigation, but was
       admonished that he was not to speak about the pending internal investigation with unauthorized persons. Later, this admonishment was
       modified and Sgt. Cross was told he was not to disclose to any unauthorized persons that he was on administrative leave.

       From a preliminary position, we believe that if PCSO received complaints of Sgt. Cross participating in political events in uniform while off
       duty, this would serve as the basis for a potential misconduct investigation. However, during the fact finding phase of this potentially
       reasonable investigation, Captain Navarro established with Sgt. Cross on October 12th that this was not the case. There are also no
       photographs showing any PCSO insignia. In addition, and acting in deference to what we believe is an unlawful directive from Captain
       Navarro (notwithstanding the constitutional concerns related to this directive), Sgt. Cross' future participation in these events was also off
       duty and in clothing which is not consistent with any known uniform deputies currently wear while on duty for PCSO.

       We believe that PCSO is invested in the protection of the Constitutional Rights of both the citizens of the county and its employees.
       However, we believe that there are individuals with political motivations who are "weaponizing" the internal processes of PCSO to curtail
       these rights. The current actions taken against Sgt. Cross have a "chilling effect" on his Constitutional Rights (including but not limited to
       having the actual effect of prohibiting speech related to the decision to place Sgt. Cross on administrative leave), and this effect extends to
       other members of the PCSO who share these same rights. PCSO, based on the enclosed photo and this summary, is currently on notice
       that Sgt. Cross' actions were protected by the Constitution and are not in violation of any PCSO policy.

       PCSO's decision to place Sgt. Cross on administrative leave - and to provide media comments on this issue - raise significant concerns,
       and have a chilling effect on both Sgt. Cross and other PCSO members.

       For these reasons, we ask PCSO to remove Sgt. Cross from his current administrative leave status and release him from the
       admonishment by 1500 hours on this day of October 15th, 2024.

       It is our hope that once fully informed, PCSO will comply with State and Federal Law and the United States Constitution and take this
       appropriate action. We sincerely hope that we are able to avoid elevating our concerns to legal action, but are prepared to take this step if
       PCSO is unwilling to refrain from impinging on the Constitutional Rights of their employees. If you would like additional information or
       clarification please let me know.

       Sincerely,

       Steve Serbalik
       Attorney for Sgt. Aaron Cross
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  Complaint Exhibit B

Screenshots of PCSD Media
         Release
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Aaron Cross Press Release.jpeg                                                             10/15/24, 4:08 PM




https://drive.google.com/drive/folders/1WEpllUqpuUsIlSrElD0rjiPvgch-Z464                         Page 1 of 1
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  Complaint Exhibit C

Arizona Star Photo from Protest
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